      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 1 of 17 - Page ID # 1
                                                 FILED
                                   U.S. DISTRICT COURT
 AO 241 (Rev. 09/17)              DISTRICT OF NEBR/\SIU~                                   ~·- 24 CV \l l(}

 United States District Cour{)ff \CE OF TM[                     CLEtG\        District:
 Name (under which you were convicted):                                                                           Docket or Case No.:



                 'I
 Place of Confinement :         ew.'Y'I   ~c.h Co 1-re.t--•l•1c;N\.,I        ~~ \, }~          Prisoner No.:

     ~el ~ ~co kt.                            ~E b'i4i6o
 .Petitioner (include the name under which
                                        . you were convicted)                 _Respondent (authorized person having custody of petitioner)

                                                                        v.


The Attorney General of the State of: ()'\



                                                                  PETITION



1.         (a) Name and location of court that entered the judgment of conviction you are challenging:

            bas•~ C.Ovo+_j D~ ,,h-,:,}- 6.,vrt > &Iz. G0"' t, Rm 3o3 ) Bet,-h,;'-~ klE ')?31o                                     J
            Nek,ps\6-:,,      b,f-/t-!«Yl Co.v:-t, Jl-tt:?, -5'.bk Ct.p,~ I, P,o. &oi qpqwJ LMuil1r1 J1,; 6'isoc,

           (b) Criminal docket or case number (if you know):

2.         (a) Date of the judgment of conviction (if you know):

           (b) Date of sentencing:          --   k, ;a, J..002
3.        Length of sentence:                                       ~

4.        In this case, were you convicted on more than one count or of more than one crime?                          Yes         0    No

5.        Identify all crimes of which you were convicted and sentenced in this case:                C,) fb,..v-drc In           h;t, ~ deoMe
           CW(\+(,;.,)        use o~ ~po"'-'\.o lom/l'lJ a CJ~




6.        (a) What was your plea? (Check one)

                                     J;J"(l)         Not guilty               0     (3)       Nolo contendere (no contest)

                                      0    (2)       Guilty                   0     (4)


                                                                                                                                        Page 2 of 16
                                                                                                           APR -12024
                                                                                                                 CLERK
                                                                                                   -U.S. DISTRICT COURT
     8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 2 of 17 - Page ID # 2


AO 241 (Rev. 09/17)

          (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

         you plead guilty to and what did you plead not guilty to?                                  :p\ec-J          Ma+" fjd 1\ ~ \o                       btk. /:cvY\tb




         (c) If you went to trial, what kind of trial did you have? (Check one)

                         dJury              O      Judge only

7.       Did you testify at a pretrial hearing, trial, or a post-trial hearing?

                          □ Yes            ;zt"No

8.       Did you appeal from the judgment of conviction?

                         ,d"'Yes            O No
9.     · If you did appeal, answer the following:

         (a) Name of court:                 NeJoct, ':;)'ho,. k.~rew:P- &, w::±::
         (b) Docket or case number (if you know):

         (c) Result:

         (d) Date ofresult (if you know):

         (e) Citation to the case (if you know):

         (f) Grounds raised: --E,_,,y...__t...,e..,..,S"-"ive.-u,,::::~~=:-'-'c
                                                                            ....~'--'~""'-e,__=-__._,..._y")_,_,(....,_D~1;._...,J=..__.....
                                                                                                                                         ~~r,i.J.Je'-"',C""-\,L-r..,_)_ _ _ _ _ _ __



               D~~J livd e.rO?rPJ i""' c\e-"'j'~ 906k--0t\;,~4-,<1/'\ t'.h:fbfV"\ +o                                                                                    Vi:;u k.




        (g) Did you seek further review by a higher state court?                                       0    Yes         ,PY No
                      If yes, answer the following:

                      (1) Name of court:               _ ___!C_/ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                      (2) Docket or case number (if you know):

                      (3) Result:




                                                                                                                                                                         Page 3 of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 3 of 17 - Page ID # 3


AO 241 (Rev. 09/17)

                      (4) Date ofresult (if you know):          /
                                                           ~'------------------------
                      (5) Citation to the case (if you know):            /

                      (6) Grounds raised:




         (h) Did you file a petition for certiorari in the United States Supreme Court?                        □     Yes       ~No

                      If yes, answer the following:

                      (1) Docket or case number (if you know):          /
                                                                        -'--------------------
                      (2) Result:



                      (3) Date ofresult (if you know):              ~
                                                           ------------------------
                      (4) Citation to the case (if you know):               / _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                        _..c...

10.      Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

         concerning this judgment of conviction in any state court?                       $Yes                 □     No

11.      If your answer to Question 10 was "Yes," give the following information:

         (a)          (l)Nameofcourt:          bcijc Co:~J~ \J,.bk,Lj- &>()('+
                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:        -~.......,,.O'""lj,,_~~lrn=.....,__..lJ,_.:..,,/d=--1z~OA.~-___,.___ _ _ _ _ _ _ _ _ _ __
                                     i·rvwd,,:e... A+,6kin,,e 6 \
                      (5) Grounds raised:

                           Ltrri k~ ~a, ueJ ~db:,o ,-       peik~7               ~)W)




                                                           L
                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        □ Yes       $No

                      (7) Result:     pmt~-           l h:L . /-,            1~ G-      f«✓-

                                                                                                                                        Page4of 16
   8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 4 of 17 - Page ID # 4

AO 241 (Rev. 09/17)

                      (8) Date ofresult (if you know):

          (b) If you filed any second petition, application, or motion, give the same information:

                      (1) Name of court:

                      (2) Docket or case number (if you know):     ~
                                                                    --------------------
                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:         /

                      (5) Grounds raised:




                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        0 Yes        0     No

                      (7) Result:

                      (8) Date ofresult (if you know):

         (c) If you filed any third petition, application, or motion, give the same information:

                      (I) Name of court:

                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:       /
                                            ---'-----------------------------




                                                                                                                         Page5of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 5 of 17 - Page ID # 5

 AO 241 (Rev. 09/17)

                       (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                         D Yes         D      No

                       (7) Result:            /
                                     --L-------------------------------
                       (8) Date ofresult (if you know):          /'
                                                                 -------------------------
           (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,
           or motion?

                       ( 1) First petition:        /5Yes         D No
                       (2) Second petition:        d¥es          D No
                       (3) Third petition:         ..eJ""'"Yes   D No
           (e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:




12.        For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
           laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
           supporting each ground. Any legal arguments 'must be submitted in a separate memorandum.

           CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
           state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
           forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE:                 G      A t.. ·1 , \ •. , • 1 •          1            ,._   1        1   •
                            'Xit,e Ccr-Yl130ST .:;,"{)~..l\L--tlaC\ h<'U:11,•')~ l.DM~e.tc-l"kj _becrl""j t,...,',
D)t 4'1'\(',. > G~k Med.A &-vt,L.iJ10.-::- > ~dl'I'                      -b ~knee c1t1J {mm t:.-~                             l~rJJ.
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

}.,d.t(        ~o,,\ W, 'lv.,ct>'\, '""A £\rc.v,-~J \e-tiW- C:,r C),.,_y,,o-t: ~ h? Wei lw, Ct:                     lJ
Cal/V\p.J-e,,..,'1 ' 11~" l, >M, ,:\°?<'- \,1 M,. r,'a ~, s¼ IOV\4 OV\ or 6~ J DL-t-eirok
l\ Al't"J~ :tro ~~'> evG \uc b~ la- 5\t,,\J 1\: -r'le&~ > ,.\: 1s & q,·1~\0n. o+ fl.':
      'Ci:,,                               • •               •   .      •"" e-      .                      -           •     b,ne- -      11




(b) If you did not exhaust your state remedies on Ground One, explain why:




                                                                                                                           Page 6 of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 6 of 17 - Page ID # 6

AO 241 (Rev. 09/17)

(c)       Direct Appeal of Ground One:

          (1) If you appealed from the judgment of conviction, did you raise this issue?                                                    0     No

         (2) If you did not raise this issue in your direct appeal, explain why:




(d) Post-Conviction Proceedings:

         (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      JTYes       0      No

         (2) If your answer to Question {d)(l) is "Yes,': state:

         Type of motion or petition:          _\1....r,....od~'-'--'Lc.,.,..·,,c.J"'-"U""l.,,,t.:.=t=a..--...=---=-------------------
         Name and location of the court where the motion or petition was filed:



         Docket or case number (if you know):

         Date of the court's decision:
                                                                                                                 '
         Result (attach a copy of the court's opinion or order, if available):
                                                                                                  N6 \- a o"'        ,Ii-bl e,,,,


         (3) Did you receive a hearing on your motion or petition?                                                      0     Yes

         (4) Did you appeal from the denial of your motion or petition?                                               ~Yes                  0     No

         (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? ,                            Yes           0     No

         (6) Ifyour answer to Question (d)(4) is "Yes," state:

         Name and location of the c~urt where the appeal was filed:                    ~e1ri,f,        ¥-c, Le-< ,ct o\-- ,Appe,e. b 1
         Jl-1 r~ 6\\~ C'f11h, i I 2.o. &:a c,~ t;fo I Lu"t:clk MG 626 a'j                             l


        Docket or case number (if you know): ---=5'----=2-....,,~oe...-___.,0«..,0,._,0"-"b""8..._.1«-----------------

        Date of the court's decision:     _.:-l=.,C.,,.,nC!Jr..,_,....,,'----'1c........1e.L-_1,__,,....J-"-""o'.L)..-C.'1_.__ _ _ _ ____._ _ _ _ _ _ _ _ _ _ __
                                                       9              1

        Result (attach a copy of the court's opinion or order, if available):                    No\· C..ucq\c;--\dt'..i




        (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




                                                                                                                                                  Page 7 of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 7 of 17 - Page ID # 7

 AO 241 (Rev. 09/17)

 (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

 used to exhaust your state remedies on Ground One:




 GROUND TWO:



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




(b) If you did not exhaust your state remedies on Ground Two, explain why:




(c)       Direct Appeal of Ground Two:

          (1) If you appealed from the judgment of conviction, did you raise this issue?             0     Yes     0   No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d)      Post-Conviction Proceedings:

         (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                       0 Yes      0    No

         (2) If your answer to Question (d)(l) is "Yes," state:

         Type of motion or petition:

         Name and location of the court where the motion or petition was filed:




         Docket or case number (if you know):


                                                                                                                        Page8 of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 8 of 17 - Page ID # 8


 AO 241 (Rev: 09/17)

           Date of the court's decision:

           Result(attach a copy of the court's opinion or order, if available):




           (3) Did you receive a hearing on your motion or petition?                                 0     Yes   ·□     No

           (4) Did you appeal from the denial of your motion or petition?                            0     Yes    0     No

           (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0     Yes    0     No

          (6) If your .answer to Question (d)(4) is "Yes,"
                                                       .
                                                           state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Two :




GROUND THREE:



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




                                                                                                                        Page 9 of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 9 of 17 - Page ID # 9


AO 241 (Rev. 09/17)

(b) If you did not exhaust your state remedies on Ground Three, explain why:




(c)      Direct Appeal of Ground Three:

         (I) If you appealed from the judgment of conviction, did you raise this issue?             0   Yes        0 No
         (2) If you did not raise this issue in your direct appeal, explain why:




(d)      Post-Conviction Proceedings:

         (I) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      0 Yes       O No

         (2) If your answer to Question (d)(l) is "Yes," state:

         Type of motion or petition:

         Name and location of the court where the motion or petition was filed:



         Docket or case number (if you know):

         Date of the court's decision:

         Result (attach a copy of the court's opinion or order, if available):




         (3) Did you receive a hearing on your motion or petition?                                 0    Yes        0 No
         (4) Did you appeal from the denial of your motion or petition?                            0    Yes       0 No
         (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0    Yes       0 No

         (6) If your answer to Question (d)(4) is "Yes," state:

         Name and location of the court where the appeal was filed:



         Docket or case number (if you know):

        Date of the court's decision:

        Result (attach a copy of the court's opinion or order, if available):




                                                                                                                      Page 10 of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 10 of 17 - Page ID # 10


 AO 241 (Rev. 09/17)

           (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




 (e)      Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Three:




GROUND FOUR:



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




(b) If you did not exhaust your state remedies on Ground Four, explain why:




(c)       Direct Appeal of Ground Four:

          (1) If you appealed from the judgment of conviction, did you raise this issue?             □     Yes     0 No

         • (2) If you did not raise this issue in your direct appeal, explain why:




(d)      Post-Conviction Proceedings:

         (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                       □   Yes     □   No

         (2) If your answer to Question (d)(l) is "Yes," state:

         Type of motion or petition:


                                                                                                                         Page 11 of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 11 of 17 - Page ID # 11


 A0241 (Rev. 09/17)

          Name and location of the court where the motion or petition was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 0   Yes       0 No
          (4) Did you appeaMrom the denial of your motion or petition?                              0   Yes       0 No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   0   Yes       0 No
          (6) Ifyour answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)      Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

         have used to exhaust your state remedies on Ground Four:




                                                                                                                        Page 12 of 16
  8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 12 of 17 - Page ID # 12


AO 241 (Rev. 09/17)

13.       Please answer these additional questions about the petition you are filing:

          (a)         Have all grounds for relief that you have raised in this petition been presented to the highest state court

                      havingjurisdiction?    ~s              0     No

                      If your answer is "No," state which grounds have not been so presented and give your reason(s) for not

                      presenting them:




          (b)         Is there any ground in this petition that has not been presented in some state or federal court? If so, which

                      ground or grounds have not been presented, and state your reasons for not presenting them:

                        A,\ ff',>rJto p~,,JJ \c, b~ /4i..ct-

14.      Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction

         that you challenge in this petition?          0     Yes        ~
         If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

         raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

         of any court opinion or order, if available.




15.      Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for

         the judgment you are challenging?             0     Yes

         If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

        raised.




                                                                                                                           Page 13 of 16
      8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 13 of 17 - Page ID # 13


A0241 (Rev.09/17)

 16.      Give the name and address, if you know, of each attorney who represented you in the following stages of the
          judgment you are challenging:

          (a) At preliminary hearing:



          (b) At arraignment and plea:



          (c) At trial:
                                        Na\-    v,Nl;.,)11"\,



          (d) At sentencing:
                                     No+-      \i.n(,11,vh



          (e) On appeal:
                                     Mo.\- \l.-1ontvk"

          W In ,ny po,t-convictioo procccdin,r.                 G\lo c ~           ,:. ap:,n   1-,j
                                                                                      g

          (g) On appeal from any ruling against you in a post-conviction proceeding:        J\1 0 A,~                 ,,
                                                                                                                    o~/}{J{f\w




17.      Do you have any future sentence to serve after you complete the sentence for the judgment that you are

         challenging?            0      Yes    ~No
         (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




         (b) Give the date the other sentence was imposed:

         (c) Give the length of the other sentence:

         (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the

         future?                 0      Yes     O     No

18.      TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

         why the one-year statute o£limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

           C\.c.iw-.. Wt-6      Oe1ttc         Aeb,~J I~ 411j (J'2&·h:a~uJ.zc.,;. p~cG
          Q?...~\eJ tL~                        b«c,,eJ on \.'vm·J J,05vnaf: 1r                 :ILJ 1-kh bi: ~l-.t-

                                                           =t:;::):t :!"1!: 0:r
                                 l[M~



         ~h~!i:~tt'~~Q~
          WWt,eecL~, ~ t,,sc. \,". > ~~trtkv:re. t.u~                                          'at'OCi•j      b~ +ie.
                                                                                                                     Page 14 of 16
  8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 14 of 17 - Page ID # 14


AO 241 (Rev. 09/17)




* The An?terrorism and-Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in
part that:

             (1)      A one-year period oflimitation shall apply to an application for a writ ofhabeas corpus by a person in
                      custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                      (A)      the date on which the judgment became final by the conclusion of direct review or the expiration
                               ofthe time for seeking such review;

                      (B)      the date on which the impediment to filing an application created by State action in violation of
                               the Constitution or laws of the United States is removed, if the applicant was prevented from
                               filing by such state action;

                      (C)      the date on which the constitutional right asserted was initially recognized by the Supreme Court,
                               if the right has been newly recognized by the Supreme Court and made retroactively applicable to
                               cases on collateral review; or

                      (D)      the date on which the·factual predicate of the claim or claims presented could have been
                               discovered through the exercise of due diligence.




                                                                                                                          Page 15 of 16
   8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 15 of 17 - Page ID # 15


AO 241 (Rev. 09/17)

          (2)         The time during which a properly filed application for State post-conviction or other collateral review with
                      respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                      under this subsection.

Therefore, petitioner asks that the Court grant the following relief:      -f Q-vvl +k- Pc.1b;,«-·s 6eoke..
                                                                   /tfi:k ~wr.,,J 11,~fo,-han o-G Joe__ ~ s
• I                                   i
or any other relief to which petitioner may be entitled.




                                                                          Signature of Attorney (if any)




I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

Writ of Habeas Corpus was placed in the prison mailing system on            D1art-h. q )o2-.l-{         (month, date, year).
                                                                                          1




Executed (signed) on        (11&<,.J-._ tf1 Jop-{ (date).




                                                        ~ _ ; A 2:l~:01-edvd  Signature of Petitioner

If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.




                                                                                                                           Page 16 of 16
8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 16 of 17 - Page ID # 16

R:e,\\_)_r-J A G-q~(.,v 0 \ J ::t:r0 ; I 7 (                                                                                  quodient                   W
                                                                                                                                                         Cl
Pc . f?cy qoo                                                                                                                 CORRECTION
                                                                                                                              IMI
                                                                                                                                                         :,:I:
                                                                                                                                                        r-

                                                                                                                              $000.072                  ~
Te-cu. \s(:',,           NE ttf,!J-c - c9co                                                                               •
                                                                                                                              03/2!ll2024 ZIP 6ll-l50
                                                                                                                              043M31235529              ~




                  1,Jnr.:1 Tc1Sco~~:z,c·.::· =
               WtS .~i;l~J '"- •4· 1 1\. .:f .,., •
                  !.'1,f" . ·.-, .
                 T-4 ~_~,?~· , . :~·•;."\- ·= .. ..,:
              ~CR::ECTiC.'{ ~l ::·::-,\"-~: s. 1~S8C.- -• -
                                                                                                                                                                                                       --.....:
                                                              ¼o !'ni. r\ ~ . ~tr v j ~ U S lcur+ h v-'oC--                                                                                                 '
                                                                                                                                                                                                      ' j
                                                               1\ l ~ \;? r.!:,.            v\z_.. ~ 11S" 2._                                                                                         7,-::._

                                                              Or,,J-c, 1 N.f                  b 2 ;r., 2-

                                                                                                                                          RECEdVED
                                                                                                                                                 APR - 1 2024
                                                                                                                                                        CLERK
                                                                                                                                          U.S. DISTRICT COURT




                                                                                                                                                                          I

                                                              \i\i\\llll,\li\ij\•j\•111,\1\\\J1\lo,l1•\•l'''l\llljlli\1
                                                                                                                                                                   0
                                                                                                                                                                       ~
                                                                                                                                                        t'/'c" I ,,, \ c-"
                                                                                                                                                                        ,,,, '   3 - cl - r--J t-1l
8:24-cv-00116-JFB-PRSE Doc # 1 Filed: 04/01/24 Page 17 of 17 - Page ID # 17
